       CASE 0:11-cr-00173-MJD-JJK            Doc. 132     Filed 07/15/11        Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                           Crim. No. 11-173 (MJD/JJK)

                        Plaintiff,

v.
                                                                     ORDER
(2) Angelo Banks, and
(3) Iwabi Oyenowo,

                        Defendants.


John Docherty, Esq., Assistant United States Attorney, counsel for Plaintiff.

Richard H. Kyle, Jr., Esq., Fredrikson & Byron, PA, counsel for Defendant Banks.

Robert M. Christensen, Esq., Robert M. Christensen, PLC, counsel for Defendant Oyenowo.


       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated July 1, 2011. No objections have been

filed to that Report and Recommendation in the time period permitted. Based on the Report and

Recommendation of the Magistrate Judge, on all of the files, records, and proceedings herein, the

Court now makes and enters the following Order.

       IT IS HERERBY ORDERED that:

       1.      Defendant Bank’s Motion for Severance (Doc. No. 44), is DENIED;

       2.      Defendant Oyenowo’s Motion to Sever Defendant (Doc. No. 80), is DENIED;

and




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      CASE 0:11-cr-00173-MJD-JJK         Doc. 132     Filed 07/15/11    Page 2 of 2




       3.     Defendant Oyenowo’s Motion to Dismiss Indictment on Grounds of Insufficient

Allegations (Doc. No. 79), is DENIED.



Date: July 15, 2011
                                                       s/Michael J. Davis
                                                       MICHAEL J. DAVIS
                                                       Chief Judge
                                                       United States District Judge




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